                    Case 4:11-cr-00163-BRW Document 106 Filed 05/02/13 Page 1 of 1
                                                                                            FILED
                                                                                          U.S. DISTRICT COURT
                                                                                      EASTERN DISTRICT ARKANSAS
~ AO 245A (Rev. 12/03) Judgment of Acguittal

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                                     UNITED STATES DISTRICT COUR1JAMESW. M
                                                                By: _ _......Jc~....:r__-+--'~~~~=
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                                                                      __S_A_S____________

          UNITED STATES OF AMERICA
                                                                JUDGMENT OF ACQUITTAL
                              v.
                  EUGENE STARR, JR.
                                                                CASE NUMBER: 4:11-CR-00163-02 BRW




       The Defendant was found not guilty. IT IS ORDERED that the Defendant is acquitted, discharged,
and any bond exonerated.




Signature of Judge

Billy Roy Wilson - District Judge
Name of Judge                                  Title of Judge
